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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   vs.                                        Case No. 3:22-cr-23-BJD-MCR

   AARON ZAHN
   RYAN WANNEMACHER


                                      ORDER

         The Court, having received a request by a member of the press, hereby

   waives the Administrative Order regarding Photography, Broadcasting,

   Television and Recording Equipment, Case No. 3:13-mc-38, for the limited

   purpose of allowing any member of the press to enter the Courthouse with a

   laptop computer or tablet (but not cell phones) to attend the initial appearance,

   arraignment and bond hearing set before the undersigned on March 8, 2022

   at 2:30 p.m. in Courtroom 5C, Fifth Floor.

         Any member of the press entering the Courthouse with a laptop or tablet

   must present Court Security Officers with media credentials and a copy of this

   Order. Live transmission of any kind from the courtroom while court is in

   session is strictly prohibited. This prohibition includes, but is not limited to,

   texting, emailing, tweeting, blogging, and messaging or posting via any social

   media. In addition, no audio or video recording is allowed in the Courthouse

   at any time.
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        DONE AND ORDERED at Jacksonville, Florida on March 7, 2022.




   Copies to:
   Jim Leanhart, Division Manager
   Court Security Officer
   United States Marshal Service
